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                    Exhibit 12
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                                                                       Page 1

 1                         IN THE UNITED STATES DISTRICT COURT
 2                        FOR THE SOUTHERN DISTRICT OF NEW YORK
 3
 4
 5           NIKE, INC.;                                )
                                                        )
 6                             Plaintiff,               )
                                                        )
 7                  vs.                                 )   Case No.
                                                        )   1:22-cv-00983-VEC
 8           STOCKX, LLC;                               )
                                                        )
 9                             Defendant.               )
             _______________________________)
10
11
12
13                     VIDEOTAPED DEPOSITION OF ROY IKHYUN KIM
14                                San Diego, California
15                             Wednesday, February 8, 2023
16
17
18
19
20
21
22           Reported by:
             Lynda L. Fenn, CSR, RPR
23           CSR No. 12566
24
25

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                                              Page 2                                                  Page 4
 1        IN THE UNITED STATES DISTRICT COURT               1   APPEARANCES:
 2        FOR THE SOUTHERN DISTRICT OF NEW YORK             2
 3
                                                            3   For the Defendants:
 4
 5    NIKE, INC.;                   )                       4
                            )                               5     KILPATRICK TOWNSEND & STOCKTON LLP
 6             Plaintiff,       )                           6     BY: ROBERT N. POTTER, ESQ.
                            )                               7     The Grace Building
 7      vs.             ) Case No.
                                                            8     1114 Avenue of the Americas
                      ) 1:22-cv-00983-VEC
 8    STOCKX, LLC;             )                            9     New York, New York 10036
                      )                                    10     (212) 775-8733
 9            Defendant.   )                               11     rpotter@kilpatricktownsend.com
      _______________________________)                     12
10
                                                           13     DEBEVOISE & PLIMPTON LLP
11
12                                                         14     BY: KATHRYN SABA, ESQ.
13          VIDEOTAPED DEPOSITION of ROY IKHYUN KIM,       15     66 Hudson Boulevard
14       taken on behalf of Plaintiff, San Diego,          16     New York, New York 10001
15       California, at 9:56 a.m. and ending at 1:40       17     (212) 909-6760
16       p.m., Wednesday, February 8, 2023, reported by
                                                           18     ksaba@debevoise.com
17       Lynda L. Fenn, CSR No. 12566, Certified
18       Shorthand Reporter within and for the State of    19
19       California, pursuant to notice.                   20
20                                                         21
21                                                         22
22
                                                           23
23
24                                                         24
25                                                         25
                                                  Page 3                                              Page 5
 1     APPEARANCES:                                         1    APPEARANCES:
 2                                                          2
 3     For the Plaintiff:                                   3    For the Deponent:
 4                                                          4
 5            DLA PIPER                                     5       EDLESON REZZO & HINDMAN
 6            BY: MELISSA A. REINCKENS, ESQ.                6       BY: JESSE HINDMAN, ESQ.
 7            4365 Executive Drive, Suite 1100              7       225 Broadway, Suite 2220
 8            San Diego, California 92121                   8       San Diego, California 92101
 9            (619) 699-2700                                9       (619) 225-4078
10            melissa.reinckens@us.dlapiper.com            10       jeese@erhlawfirm.com
11                                                         11
12            DLA PIPER                                    12    Also Connected:
13            BY: GABRIELLE VELKES, ESQ.                   13
14            1251 Avenue of the Americas                  14       Gregg Eisman, Videographer
15            New York, New York 10020-1104                15
16            (212) 335-4812                               16
17            gabrielle.velkes@us.dlapiper.com             17
18                                                         18
19                                                         19
20                                                         20
21                                                         21
22                                                         22
23                                                         23
24                                                         24
25                                                         25
                                                                                             2 (Pages 2 - 5)
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                                                    Page 14                                                       Page 16
 1            E X H I B I T S (Continued)                      1                I N D E X (Continued)
 2                                                             2
 3     NUMBER            DESCRIPTION               PAGE        3
 4                                                             4                INFORMATION REQUESTED
 5     Exhibit 39 A nine-page document entitled      78        5
 6              Page Vault; NIKE0036330 -                      6                      (None)
 7              NIKE0036338                                    7
 8                                                             8               INSTRUCTION NOT TO ANSWER
 9     Exhibit 40 A one-page email from Roy Kim          82    9
10              to Tamar Duvdevani, July 11,                  10                      (None)
11              2022; NIKE0029007                             11
12                                                            12
13     Exhibit 41 A four-page email chain ending     86       13
14              with an email from Roy Kim to                 14
15              Russ Amidon, August two, 2022;                15
16              STX0772942 - STX0772945                       16
17                                                            17
18     Exhibit 42 A 66-page document beginning           94   18
19              with an email from StockX to                  19
20              Roy Kim, August two, 2022;                    20
21              RK000137 - RK000202                           21
22                                                            22
23                                                            23
24                                                            24
25                                                            25
                                                    Page 15                                                       Page 17
 1            E X H I B I T S (Continued)                      1            San Diego, California
 2                                                             2          Wednesday, February 8, 2023
 3     NUMBER            DESCRIPTION               PAGE        3           9:56 a.m. - 1:40 p.m.
 4                                                             4
 5     Exhibit 43 A four-page email chain ending    144        5
 6              with an email from Russ Amidon                 6
 7              to Roy Kim, July seven, 2022;                  7         THE VIDEOGRAPHER: Good morning. We're
 8              RK000018 - RK000021                            8   going on the record at 9:56 a.m. on Wednesday
 9                                                             9   February eight, 2023.
10     Exhibit 44 A six-page email chain ending     148       10         Please note the microphones are sensitive
11              with an email from StockX to                  11   and may pick up whispering and private conversations.
12              Roy Kim, July 25, 2022;                       12   Please mute your phones at this time.
13              RK000022 - RK000027                           13         Audio and video recording will continue to
14                                    155                     14   take place unless all parties agree to go off the
15     Exhibit 45 A one-page printed from                     15   record.
16              Instagram; STX0774399                         16         This is media unit one of the
17                                                            17   video-recorded deposition of Roy Kim testifying in
18     Exhibit 46 An eight-page email chain        159        18   the matter of Nike, Inc., versus Stockx, LLC filed in
19              ending with an email from Tamar               19   the United States District Court for the Southern
20              Duvdevani to Roy Kim, July ten,               20   District of New York, Case No. 1:22-cv-00983.
21              2022; RX000002 - RK000009                     21         The location of this deposition is 4365
22                                                            22   Executive Drive, DLA Piper, Fourth Floor, San Diego,
23                                                            23   California.
24                                                            24         My name is Gregg Eisman representing
25                                                            25   Veritext and I'm the videographer. The court

                                                                                                    5 (Pages 14 - 17)
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                                                     Page 34                                                   Page 36
 1     and is attached hereto.)                                 1   your purchase?
 2     BY MS. REINCKENS:                                        2      A It is.
 3        Q Mr. Kim, what is your email address?                3      Q And what type of shoe is this order for?
 4        A Roy I. Kim at Gmail dot-com.                        4      A This is a Jordan 1 University Blue.
 5        Q Is this the only email address you used to          5      Q And if you look at the Bates numbered page
 6     contact StockX?                                          6   RK 000029 it says, "Condition."
 7        A It is.                                              7         Do you see that, sir?
 8        Q All right.                                          8      A Oh, yeah, it says, "Condition: New, one
 9            Now, the court reporter has handed you a          9   hundred percent authentic."
10     document that's been marked as Exhibit No. KIM 1.       10      Q Okay.
11            Do you have that in front of you?                11         And did you receive this order from StockX?
12        A I do.                                              12      A I did.
13        Q Okay.                                              13      Q All right.
14            What is this document?                           14         You can put that to the side and I'll
15        A This is an email of an order of a shoe that        15   apologize in advance, we are going to be going
16     I purchased from StockX.                                16   through a lot of these in a similar fashion.
17        Q Okay.                                              17         MS. REINCKENS: Would you mark this as
18            And when do you receive one of these emails      18   Exhibit No. KIM 2.
19     from StockX?                                            19         (Plaintiff's Exhibit 2 was marked for
20        A I'm sorry?                                         20   identification by the Certified Shorthand Reporter
21        Q When do you receive one of these emails            21   and is attached hereto.)
22     from StockX?                                            22         MS. REINCKENS: Okay.
23        A You receive this email -- I received this          23   BY MS. REINCKENS:
24     email when an order goes through StockX and I paid      24      Q Mr. Kim, the court reporter has handed you
25     for it and I commit to buying it.                       25   an exhibit marked as Exhibit No. KIM 2.
                                                     Page 35                                                   Page 37
 1        Q Okay.                                               1         Do you have that in front of you?
 2           So it's after you purchased a product from         2      A I do.
 3     StockX; correct?                                         3      Q All right.
 4        A Yes, that's correct.                                4         And do you recognize this document?
 5        Q All right.                                          5      A I do.
 6           And in your experience do you typically            6      Q And what is it?
 7     receive an order confirmation from StockX after          7      A It is an order purchase confirmation from
 8     purchasing?                                              8   StockX.
 9        A Yes, almost immediately.                            9      Q Okay.
10        Q So was the date the order was confirmed on         10         And what date did you receive this email?
11     or around the date of the purchase then?                11      A Dated May 30th, 2022.
12        A Yes, it would be --                                12      Q And is this document an accurate reflection
13           MR. POTTER: Objection; form.                      13   of what you were trying to purchase?
14           THE WITNESS: Oh, sorry.                           14      A It is.
15           Yes, it would be right around the date of         15      Q What type of shoe was this order for?
16     the email.                                              16      A This was a Jordan 1 University Blue.
17           MS. REINCKENS: Okay.                              17      Q Okay.
18     BY MS. REINCKENS:                                       18         And what's the order number?
19        Q Now, looking at Exhibit No. KIM 1, what            19      A 37857800, dash, 37757559.
20     date is shown here for that?                            20      Q And if you look at RK 32, it, once again,
21        A May 30th, 2022.                                    21   says the condition.
22        Q Okay.                                              22          Do you see that?
23           And what order number is this?                    23      A Yes, it's "New, one hundred percent
24        A This is Order No. 37857795, dash, 37757554.        24   authentic."
25        Q Is this document an accurate reflection of         25      Q Did you receive this order from StockX?

                                                                                                10 (Pages 34 - 37)
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                                                       Page 38                                                      Page 40
 1          A I did.                                              1   2022.
 2            MS. REINCKENS: Mark this is Exhibit                 2      Q And what is the order number?
 3     No. KIM 3.                                                 3      A Order No. 38917859, dash, 38817618, marked,
 4            (Plaintiff's Exhibit 3 was marked for               4   "New, a hundred percent authentic."
 5     identification by the Certified Shorthand Reporter         5      Q And is this document an accurate reflection
 6     and is attached hereto.)                                   6   of what you were trying to purchase?
 7            MS. REINCKENS: Okay.                                7      A Yes.
 8     BY MS. REINCKENS:                                          8      Q And did you receive this order from StockX?
 9          Q Mr. Kim, the court reporter has handed you          9      A I did.
10     a document that's been marked as Exhibit No. KIM 3.       10         MS. REINCKENS: Exhibit No. KIM 5, please.
11     I'll just say on the record it bear the Bates numbers     11         (Plaintiff's Exhibit 5 was marked for
12     RK 37 through RK 43.                                      12   identification by the Certified Shorthand Reporter
13            Do you recognize this document?                    13   and is attached hereto.)
14          A Yes, it's a series of emails for a shoe I          14   BY MS. REINCKENS:
15     bought on the same day with the same shoe size, a         15      Q Mr. Kim, you've been handed an exhibit
16     Jordan 1 University Blue.                                 16   marked as Exhibit No. KIM 5 and it bears the Bates
17          Q Okay.                                              17   numbers RK 47 through RK 49.
18            And what -- let's take this just in a              18         Do you recognize this document?
19     couple of steps here.                                     19      A Yes, it is an email purchase order
20            This -- this is an order confirmation then         20   confirmation from StockX for a Jordan 1 University
21     for an order of -- is it three pairs of shoes; is         21   Blue, size 12, dated May 30th, 2022, Order
22     that right?                                               22   No. 37858121, dash, 37757880, marked, "New, one
23          A One, two, three -- yes, three shoes.               23   hundred percent authentic."
24          Q Okay.                                              24      Q And is this document an accurate reflection
25            And if you would be kind enough just to            25   of what you were trying to purchase?
                                                       Page 39                                                      Page 41
 1     state on the record the order numbers, please.             1      A Yes, it is.
 2         A Yes. The order number for the first one is           2      Q And did you receive this order from StockX?
 3     37858112, dash, 37757871.                                  3      A I did.
 4           The order number for the second pair is              4         MS. REINCKENS: Number six, please.
 5     37864122, dash, 37763881.                                  5         (Plaintiff's Exhibit 6 was marked for
 6           The order number for the third one is                6   identification by the Certified Shorthand Reporter
 7     37881414, dash, 37781173. All marked, "New, a              7   and is attached hereto.)
 8     hundred percent authentic."                                8   BY MS. REINCKENS:
 9         Q Okay.                                                9      Q Mr. Kim, the court reporter has handed you
10           And did you receive these orders from               10   an exhibit marked as Exhibit No. KIM 6. It bears the
11     StockX?                                                   11   Bates numbers RK 50 through RK 52.
12         A I did.                                              12         Do you recognize this document?
13         Q Okay.                                               13      A Yes, it's an email confirmation for a
14           MS. REINCKENS: Exhibit No. KIM 4.                   14   StockX purchase of a Jordan 1 University Blue, dated
15           THE WITNESS: Thank you.                             15   May 30th, 2022, Order No. 37857881, dash, 37757640,
16           (Plaintiff's Exhibit 4 was marked for               16   marked, "New, one hundred percent authentic."
17     identification by the Certified Shorthand Reporter        17      Q And is this document an accurate reflection
18     and is attached hereto.)                                  18   of what you were trying to purchase?
19     BY MS. REINCKENS:                                         19      A Yes, it is.
20         Q The court reporter has handed you an                20      Q And did you receive this order from StockX?
21     exhibit marked as Exhibit No. KIM 4. It bears the         21      A I did.
22     Bates numbers RK 44 through RK 46.                        22         MS. REINCKENS: Exhibit No. KIM 7, please.
23           Do you recognize this document?                     23         (Plaintiff's Exhibit 7 was marked for
24         A Yes, it is an email confirmation for an             24   identification by the Certified Shorthand Reporter
25     order made for Jordan 1 University Blue on June 28th,     25   and is attached hereto.)

                                                                                                     11 (Pages 38 - 41)
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                                                      Page 42                                                       Page 44
 1           THE WITNESS: Thank you.                             1         THE WITNESS: Thank you.
 2           MS. REINCKENS: Okay.                                2   BY MS. REINCKENS:
 3     BY MS. REINCKENS:                                         3      Q Mr. Kim, the court reporter has handed you
 4        Q Mr. Kim, the court reporter has handed you           4   a document marked as Exhibit No. 9. It bears the
 5     an exhibit marked as Exhibit No. KIM 7 and it bears       5   Bates numbers RK 65 through RK 67.
 6     the Bates numbers RK 53 through RK 61.                    6         Do you recognize this document?
 7           Do you recognize this document?                     7      A I do. It is an email confirmation for a
 8        A Yes, it's an order -- it's an email thread           8   StockX purchase of a Jordan 1 High Hyper Royal,
 9     of an email confirmation from StockX on a purchase of     9   Order -- I'm sorry, dated June first, 2022, Order No.
10     four pairs of Jordan 1 University Blues, dated May       10   37940815, dash, 37840574 marked, "New, one hundred
11     30th, 2022. The order numbers are 37857845, dash,        11   percent authentic."
12     37757604.                                                12      Q Okay.
13           The second order is 37857851, dash,                13         And is this document an accurate reflection
14     37757610. The next order number is 37858011, dash,       14   of what you were trying to purchase?
15     37757770.                                                15      A It is.
16           The last order number is 37858015, dash,           16      Q And did you receive this order --
17     37757774. All marked, "New, one hundred percent          17      A I did.
18     authentic."                                              18      Q -- from StockX?
19        Q And is this document an accurate reflection         19      A I did, yes.
20     of what you were trying to purchase?                     20      Q Okay.
21        A It is.                                              21         MS. REINCKENS: And -- all right. Perfect.
22        Q And did you receive the orders from StockX?         22   Thank you.
23        A I did.                                              23         Exhibit No. KIM 10, please.
24           MS. REINCKENS: Number eight, please.               24         (Plaintiff's Exhibit 10 was marked for
25           (Plaintiff's Exhibit 8 was marked for              25   identification by the Certified Shorthand Reporter
                                                      Page 43                                                       Page 45
 1     identification by the Certified Shorthand Reporter        1   and is attached hereto.)
 2     and is attached hereto.)                                  2         MS. REINCKENS: Okay.
 3           MS. REINCKENS: Okay.                                3   BY MS. REINCKENS:
 4     BY MS. REINCKENS:                                         4      Q Mr. Kim, you've been handed a document
 5        Q Mr. Kim, the court reporter has handed you           5   marked as Exhibit No. KIM 10 and it is -- bears the
 6     a document marked as Exhibit No. KIM 8. It bears the      6   Bates numbers RK 68 through RK 70.
 7     Bates number RK 63 through RK 64.                         7         Do you recognize this document?
 8           Do you recognize this document?                     8      A I do. It is an email confirmation for a
 9        A Yes, I do.                                           9   StockX purchase of a Jordan 1 High Hyper Royal, dated
10        Q Okay. What is it?                                   10   June first, 2022. It has the Order No. 37960474,
11        A It is an email confirmation for a StockX            11   dash, 37860233, marked, "New, one hundred percent
12     purchase of the Jordan 1 Hyper Royal, dated June         12   authentic."
13     ninth, 2022, with the Order No. 38216724, dash,          13      Q And is this document an accurate reflection
14     38116483 marked, "New, one hundred percent               14   of what you were trying to purchase?
15     authentic."                                              15      A It is.
16        Q And is this document an accurate reflection         16      Q And did you receive this order from StockX?
17     of what you were trying to purchase?                     17      A I did.
18        A It is.                                              18         MS. REINCKENS: Exhibit No. KIM 11, please.
19        Q And did you receive this order from StockX?         19         (Plaintiff's Exhibit 11 was marked for
20        A I did.                                              20   identification by the Certified Shorthand Reporter
21           MS. REINCKENS: This is Exhibit No. KIM 9,          21   and is attached hereto.)
22     please.                                                  22   BY MS. REINCKENS:
23           (Plaintiff's Exhibit 9 was marked for              23      Q Mr. Kim, you've been handed an exhibit
24     identification by the Certified Shorthand Reporter       24   marked Exhibit No. KIM 11. It bears the Bates
25     and is attached hereto.)                                 25   numbers RK 71 through RK 73.

                                                                                                    12 (Pages 42 - 45)
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                                                     Page 46                                                      Page 48
 1           Do you recognize this document?                    1         (Plaintiff's Exhibit 14 was marked for
 2        A Yes, it is an email confirmation for a              2   identification by the Certified Shorthand Reporter
 3     StockX order of a Jordan 1 High Hyper Royal, dated       3   and is attached hereto.)
 4     June second, 2022, bearing Order No. 37981780, dash,     4   BY MS. REINCKENS:
 5     37881539, listed as "New, one hundred percent            5      Q Mr. Kim, you've been handed a document
 6     authentic."                                              6   marked as Exhibit No. KIM 14. It bears the Bates
 7        Q And is this a document -- is this document          7   numbers KIM -- RK 80 through RK 82.
 8     an accurate reflection of what you were trying to        8         Do you recognize this document?
 9     purchase?                                                9      A I do. It is an email confirmation for a
10        A It is.                                             10   StockX purchase of a Jordan 1 University Blue, dated
11        Q And did you receive this order from StockX?        11   May 30th, 2022, Order No. 37857778, dash, 37757537,
12        A I did.                                             12   marked, "New, one hundred percent authentic."
13           MS. REINCKENS: Exhibit No. KIM 12, please.        13      Q Is this document an accurate reflection of
14           (Plaintiff's Exhibit 12 was marked for            14   what you were trying to purchase?
15     identification by the Certified Shorthand Reporter      15      A It is.
16     and is attached hereto.)                                16      Q And did you receive this order from StockX?
17     BY MS. REINCKENS:                                       17      A I did.
18        Q Mr. Kim, you've been handed a document             18         (Plaintiff's Exhibit 15 was marked for
19     marked as Exhibit No. KIM 12. It bears the Bates        19   identification by the Certified Shorthand Reporter
20     numbers RK 74 through RK 76.                            20   and is attached hereto.)
21           Do you recognize this document?                   21   BY MS. REINCKENS:
22        A Yes, it's an email confirmation for a              22      Q Mr. Kim, you've been handed a document
23     StockX purchase of a Jordan 1 Hyper Royal, dated May    23   marked as Exhibit No. KIM 15. It bears the Bates
24     30th, 2022, Order No. 37873383, dash, 37773142,         24   numbers RK 83 through RK 85.
25     "Condition: New, one hundred percent authentic."        25         Do you recognize this document?
                                                     Page 47                                                      Page 49
 1        Q And is this document an accurate reflection         1      A I do. It is an email confirmation for a
 2     of what you were trying to purchase?                     2   StockX purchase of a Jordan 1 University Blue, dated
 3        A It is.                                              3   May 30th, 2022, bearing Order No. 37857930, dash,
 4        Q And did you receive this order from StockX?         4   37757689, "Condition: New, one hundred percent
 5        A I did.                                              5   authentic."
 6            MS. REINCKENS: Exhibit No. KIM 13.                6      Q And is this document an accurate reflection
 7            (Plaintiff's Exhibit 13 was marked for            7   of what you were trying to purchase?
 8     identification by the Certified Shorthand Reporter       8      A It is.
 9     and is attached hereto.)                                 9      Q Did you receive this order from StockX?
10     BY MS. REINCKENS:                                       10      A I did.
11        Q Mr. Kim, you've been handed a document             11      Q Exhibit No. KIM 16.
12     that's been marked as Exhibit No. KIM 13. It bears      12      A Thank you.
13     the Bates numbers RK 77 through RK 79.                  13         (Plaintiff's Exhibit 16 was marked for
14            Do you recognize this document?                  14   identification by the Certified Shorthand Reporter
15        A Yes, it is an email confirmation for a             15   and is attached hereto.)
16     StockX purchase of a Jordan 1 University Blue, dated    16         MS. REINCKENS: Okay.
17     May 30th, 2022, Order No. 37857774, dash, 377575333,    17   BY MS. REINCKENS:
18     marked with the "Condition: New, one hundred percent    18      Q Mr. Kim, you've been handed an exhibit
19     authentic."                                             19   marked as Exhibit No. KIM 16. It bears the Bates
20        Q And is this document an accurate reflection        20   numbers RK 86 through RK 88.
21     of what you were trying to purchase?                    21         Do you recognize this document?
22        A It is.                                             22      A Yes, it is an email confirmation for a
23        Q Did you receive this order from StockX?            23   StockX purchase of the Jordan 1 University Blue,
24        A I did.                                             24   dated May 30th, 2011, bearing Order No. 37857919,
25            MS. REINCKENS: Exhibit No. KIM 14.               25   dash, 37757678, "Condition: New, one hundred percent

                                                                                                   13 (Pages 46 - 49)
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                                                     Page 50                                                      Page 52
 1     authentic."                                              1   BY MS. REINCKENS:
 2        Q And is this document an accurate reflection         2      Q Mr. Kim, you've been handed a document
 3     of what you were trying to purchase?                     3   marked Exhibit No. KIM 19. It bears the Bates
 4        A It is.                                              4   numbers RK 95 through RK 97.
 5        Q Did you receive this order from StockX?             5         Do you recognize this document?
 6        A I did.                                              6      A Yes. It's an email confirmation for a
 7           MS. REINCKENS: Exhibit No. KIM 17.                 7   StockX purchase of a Jordan 1 University Blue, dated
 8           (Plaintiff's Exhibit 17 was marked for             8   May 30th, 2022, Order No. 37857996, dash, 37757755,
 9     identification by the Certified Shorthand Reporter       9   "Condition: New, one hundred percent authentic."
10     and is attached hereto.)                                10      Q And is this document an accurate reflection
11     BY MS. REINCKENS:                                       11   of what you were trying to purchase?
12        Q Mr. Kim, you've been handed a document             12      A It is.
13     marked as Exhibit No. KIM 17. It bears the Bates        13      Q And did you receive this order from StockX?
14     numbers RK 89 through RK 91.                            14      A I did.
15           Do you recognize this document?                   15         (Plaintiff's Exhibit 20 was marked for
16        A I do. It is an email confirmation for a            16   identification by the Certified Shorthand Reporter
17     StockX purchase of a Jordan 1 University Blue, dated    17   and is attached hereto.)
18     May 30th, 2022, Order No. 37857913, dash, 37757672,     18   BY MS. REINCKENS:
19     "Condition: New, one hundred percent authentic."        19      Q Mr. Kim, you've been handed a document
20        Q And is this document an accurate reflection        20   marked as Exhibit No. KIM 20 and it bears the Bates
21     of what you were trying to purchase?                    21   numbers RK 98 through RK 100.
22        A It is.                                             22         Do you recognize this document?
23        Q And did you receive this order from StockX?        23      A I do. It is an email confirmation for a
24        A I did.                                             24   StockX purchase of a Jordan 1 University Blue, dated
25           MS. REINCKENS: Exhibit No. KIM 18, please.        25   May 30th, 2022, bearing Order No. 37857805, dash,
                                                     Page 51                                                      Page 53
 1           (Plaintiff's Exhibit 18 was marked for             1   37757564, "Condition: New, one hundred percent
 2     identification by the Certified Shorthand Reporter       2   authentic."
 3     and is attached hereto.)                                 3      Q And is this document an accurate reflection
 4           THE WITNESS: Thank you.                            4   of what you were trying to purchase?
 5     BY MS. REINCKENS:                                        5      A It is.
 6        Q Mr. Kim, the court reporter has handed you          6      Q And did you receive this order from StockX?
 7     a document marked Exhibit No. KIM 18. It bears the       7      A I did.
 8     Bates numbers RK 92 through RK 94.                       8      Q We're making progress.
 9           Do you recognize this document?                    9      A I bought so many shoes, now I know why this
10        A Yes, it is an email confirmation for a             10   takes so long.
11     StockX purchase of a Jordan 1 University Blue, dated    11         Thank you.
12     May 30th, 2022, bearing Order No. 37857871, dash,       12      Q Mr. Kim, the court reporter has handed you
13     37757630 "Condition: New, one hundred percent           13   an exhibit marked as Exhibit No. KIM 21.
14     authentic."                                             14         (Plaintiff's Exhibit 21 was marked for
15        Q And is this document an accurate reflection        15   identification by the Certified Shorthand Reporter
16     of what you were trying to purchase?                    16   and is attached hereto.)
17        A It is.                                             17   BY MS. REINCKENS:
18        Q And did you receive this order from StockX?        18      Q It bears the Bates numbers RK 101 through
19        A I did.                                             19   RK 103.
20           MS. REINCKENS: Exhibit No. KIM 19, please.        20         Do you recognize this document?
21           (Plaintiff's Exhibit 19 was marked for            21      A Yes, it is an email confirmation for a
22     identification by the Certified Shorthand Reporter      22   StockX purchase of a Jordan 1 University Blue, dated
23     and is attached hereto.)                                23   May 30th, 2022, Order No. 37857998, dash, 37757757,
24           THE WITNESS: Thank you.                           24   the condition is new, one hundred percent authentic.
25     //                                                      25      Q Is this document an accurate reflection of

                                                                                                   14 (Pages 50 - 53)
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                                                   Page 54                                                     Page 56
 1   what you were trying to purchase?                        1   a document marked as Exhibit No. KIM 24. It bears
 2      A It is.                                              2   the Bates numbers RK 110 through RK 112.
 3      Q Did you receive this order from StockX?             3         Do you recognize this document?
 4      A I did.                                              4      A Yes, it's an email confirmation for a
 5         MS. REINCKENS: Exhibit No. KIM 22.                 5   StockX purchase of a Jordan 1 Dark Mocha, dated May
 6         (Plaintiff's Exhibit 22 was marked for             6   31st, 2022, bearing Order No. 37888982, dash,
 7   identification by the Certified Shorthand Reporter       7   37788741. The condition is marked as "New, one
 8   and is attached hereto.)                                 8   hundred percent authentic."
 9         THE WITNESS: Thank you.                            9      Q And is this document an accurate reflection
10   BY MS. REINCKENS:                                       10   of what you were trying to purchase?
11      Q Mr. Kim, the court reporter has handed you         11      A It is.
12   an exhibit marked as Exhibit No. KIM 22. It bears       12      Q Did you receive this order from StockX?
13   the Bates numbers RK 104 through RK 106.                13      A I did.
14         Do you recognize this document?                   14         (Plaintiff's Exhibit 25 was marked for
15      A I do. It is an email confirmation for a            15   identification by the Certified Shorthand Reporter
16   StockX purchase of a Jordan 1 Dark Mocha, dated June    16   and is attached hereto.)
17   sixth, 2022, bearing Order Number 38124114, dash,       17   BY MS. REINCKENS:
18   38023873, "Condition: New, one hundred percent          18      Q Mr. Kim, the court reporter has handed you
19   authentic."                                             19   an exhibit marked as Exhibit No. KIM 25. It bears
20      Q And is this document an accurate reflection        20   the Bates numbers RK 113 through RK 115.
21   of what you were trying to purchase?                    21         Do you recognize this document?
22      A It is.                                             22      A I do. It is an email confirmation for a
23      Q Did you receive this order from StockX?            23   StockX purchase of a Jordan 1 Dark Mocha, dated May
24      A I did.                                             24   30th, 2022, bearing Order No. 37858043, dash,
25         (Plaintiff's Exhibit 23 was marked for            25   37757802. The condition is marked as "New, one
                                                   Page 55                                                     Page 57
 1   identification by the Certified Shorthand Reporter       1   hundred percent authentic."
 2   and is attached hereto.)                                 2       Q Is this document an accurate reflection of
 3         THE WITNESS: Thank you.                            3   what you were trying to purchase?
 4         MS. REINCKENS: Okay.                               4       A It is.
 5   BY MS. REINCKENS:                                        5       Q Did you receive this order from StockX?
 6      Q Mr. Kim, the court reporter has handed you          6       A I did.
 7   an exhibit marked as Exhibit No. KIM 23. It bears        7         MS. REINCKENS: Thank you. Exhibit No. KIM
 8   the Bates numbers RK 107 through RK 109.                 8   26.
 9         Do you recognize this document?                    9         (Plaintiff's Exhibit 26 was marked for
10      A I do. It is an email confirmation for a            10   identification by the Certified Shorthand Reporter
11   StockX purchase of a Jordan 1 Dark Mocha, dated June    11   and is attached hereto.)
12   seventh, 2022, bearing Order No. 38157530, dash,        12         THE WITNESS: Thank you.
13   38057289. The condition is marked as "New, one          13   BY MS. REINCKENS:
14   hundred percent authentic."                             14       Q Mr. Kim, the court reporter has handed you
15      Q And is this document an accurate reflection        15   a document marked as Exhibit No. KIM 26. It bears
16   of what you were trying to purchase?                    16   the Bates numbers RK 116 through RK 118.
17      A It is.                                             17         Do you recognize this document?
18      Q Did you receive this order from StockX?            18       A Yes, it's an email confirmation for a
19      A I did.                                             19   StockX purchase of a -- excuse me, a Jordan 1 Dark
20         MS. REINCKENS: Exhibit No. KIM 24.                20   Mocha, dated June seventh, 2022, bearing Order No.
21         (Plaintiff's Exhibit 24 was marked for            21   38161749, dash, 38061508. The condition is marked as
22   identification by the Certified Shorthand Reporter      22   "New, one hundred percent authentic."
23   and is attached hereto.)                                23       Q Is this document an accurate reflection of
24   BY MS. REINCKENS:                                       24   what you were trying to purchase?
25      Q Mr. Kim, the court reporter has handed you         25       A It is.

                                                                                                15 (Pages 54 - 57)
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                                                   Page 58                                                       Page 60
 1      Q Did you receive this order from StockX?             1   BY MS. REINCKENS:
 2      A I did.                                              2      Q Mr. KIM, you've been handed a document
 3         MS. REINCKENS: Exhibit No. KIM 27.                 3   that's been mark as Exhibit No. 29, bearing the Bates
 4         (Plaintiff's Exhibit 27 was marked for             4   numbers RK 125 through RK 127.
 5   identification by the Certified Shorthand Reporter       5          Do you recognize this document?
 6   and is attached hereto.)                                 6      A I do. It is an email confirmation for a
 7         THE WITNESS: Thank you.                            7   StockX purchase of a Jordan 1 Dark Mocha, dated May
 8   BY MS. REINCKENS:                                        8   31st, 2022, bearing Order No. 37888697, dash,
 9      Q Mr. KIM, you've been handed an exhibit              9   37788456. The condition is marked as "New, one
10   marked as Exhibit No. KIM 27 bearing the Bates          10   hundred percent authentic."
11   numbers RK 119 through RK 121.                          11      Q And is this document an accurate reflection
12         Do you recognize this document?                   12   of what you were trying to purchase?
13      A Yes. It's an email confirmation for a              13      A It is.
14   StockX purchase of a Jordan 1 Dark Mocha, dated May     14      Q Did you receive this order from StockX?
15   31, 2022, bearing Order No. 37892676, dash, 37792435.   15      A I did.
16   The condition is marked as "New, one hundred percent    16      Q I'm getting a workout.
17   authentic."                                             17          (Plaintiff's Exhibit 30 was marked for
18      Q Is this document an accurate reflection of         18   identification by the Certified Shorthand Reporter
19   what you were trying to purchase?                       19   and is attached hereto.)
20      A It is.                                             20          THE WITNESS: Thank you.
21      Q Did you receive this order from StockX?            21   BY MS. REINCKENS:
22      A I did.                                             22      Q Mr. KIM, you've been handed a document
23      Q Down to the last five.                             23   marked as Exhibit No. KIM 30. It bears the Bates
24      A All right. I thought it was 300.                   24   numbers RK 128 through RK 130.
25         MS. REINCKENS: Exhibit No. KIM 28.                25          Do you recognize this document?
                                                   Page 59                                                       Page 61
 1         (Plaintiff's Exhibit 28 was marked for             1      A I do. It is an email confirmation for a
 2   identification by the Certified Shorthand Reporter       2   StockX order of a Jordan 1 Hyper Royal, dated June
 3   and is attached hereto.)                                 3   sixth, 2022, bearing Order No. 38130181, dash,
 4         THE WITNESS: Thank you.                            4   38029940. The condition is marked as "New, one
 5         MS. REINCKENS: Okay.                               5   hundred percent authentic."
 6   BY MS. REINCKENS:                                        6      Q And is this document an accurate reflection
 7      Q Mr. Kim, you've been hand handed a document         7   of what you were trying to purchase?
 8   marked as Exhibit No. KIM 28. It bears the Bates         8      A It is.
 9   numbers RK 122 through RK 124.                           9      Q Did you receive this order from StockX?
10         Do you recognize this document?                   10      A I did.
11      A I do. It is an email confirmation for a            11         MS. REINCKENS: Exhibit No. KIM 31, please.
12   StockX purchase of a Jordan 1 Dark Mocha, dated May     12         (Plaintiff's Exhibit 31 was marked for
13   30, 2022, Order No. 37858075, dash, 37757834. The       13   identification by the Certified Shorthand Reporter
14   condition is marked as "New, one hundred percent        14   and is attached hereto.)
15   authentic."                                             15         THE WITNESS: Thank you.
16      Q Is this document an accurate reflection of         16   BY MS. REINCKENS:
17   what you were trying to purchase?                       17      Q Mr. Kim, you've been handed an exhibit
18      A It is.                                             18   marked as Exhibit No. KIM 31. It bears the Bates
19      Q Did you receive this order from StockX?            19   numbers RK 131 through RK 133.
20      A I did.                                             20         Do you recognize this document?
21         MS. REINCKENS: Exhibit No. KIM 29, please.        21      A I do. It is an email confirmation for a
22         (Plaintiff's Exhibit 29 was marked for            22   StockX purchase of a Jordan 1 Hyper Royal, dated June
23   identification by the Certified Shorthand Reporter      23   fourth, 2022, bearing Order No. 38068072, dash,
24   and is attached hereto.)                                24   37967831. The condition is marked as "New, one
25         THE WITNESS: Thank you.                           25   hundred percent authentic."

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                                                    Page 62                                                     Page 64
 1      Q And is this document an accurate reflection          1   counsel in this case; is that right?
 2   of what you were trying to purchase?                      2       A Yes.
 3      A It is.                                               3       Q And what is this document?
 4      Q Did you receive this order from StockX?              4       A So this document is something I pulled off
 5      A I did.                                               5   my inventory spreadsheet which indicate the shoes
 6      Q Okay. Last one.                                      6   that I bought during this time from StockX that I
 7      A All right.                                           7   believed to have been fake.
 8         MS. REINCKENS: Exhibit No. KIM 32.                  8          The -- column A covers the shoes. Column B
 9         (Plaintiff's Exhibit 32 was marked for              9   covers the condition. C is the style code. D is the
10   identification by the Certified Shorthand Reporter       10   size. E is the purchase date. F is a mark that I
11   and is attached hereto.)                                 11   just made for myself. So these shoes were the ones
12         THE WITNESS: Thank you.                            12   that failed the -- I believe, like the photo
13   BY MS. REINCKENS:                                        13   authentication apps.
14      Q Mr. Kim, the court reporter has handed you          14          So this is kind of like the initial list
15   a document marked as Exhibit No. KIM 32. It bears        15   the shoes that I made just to make sure that I didn't
16   the Bates numbers RK 134 through RK 136.                 16   pass these along through, you know, consignment
17         Do you recognize this document?                    17   stores, just to set them aside for myself.
18      A I do. It is an email confirmation for a             18          So I believe this list was generated on my
19   StockX purchase of a Jordan 1 Hyper Royal, dated May     19   first pass of trying to understand whether these
20   30th, 2022, bearing the Order No. 37870331, dash,        20   shoes were fake or not.
21   37770090. The condition is marked as "New, one           21       Q And so you created this spreadsheet
22   hundred percent authentic."                              22   yourself?
23      Q Is this document an accurate reflection of          23       A Yes, this is my spreadsheet.
24   what you were trying to purchase?                        24       Q And why do you track -- do you track all of
25      A It is.                                              25   your orders?
                                                    Page 63                                                     Page 65
 1      Q And did you receive this order from StockX?          1       A I do. I track every single shoe that I buy
 2      A I did.                                               2   and sell because the reselling thing I kind of do for
 3         MS. REINCKENS: Is now a good time for a             3   fun and I'm interested in the economics of it.
 4   break? I think we've been going for over an hour.         4          So I do track every single shoe I buy and
 5         MR. HINDMAN: Yes, please.                           5   sell, the price that they sold for just to
 6         MS. REINCKENS: Okay.                                6   understand, like, what the ROI and stuff on that is.
 7         THE VIDEOGRAPHER: Off the record at                 7          So, yes.
 8   a.m.                                                      8       Q So if we were to compare this spreadsheet
 9         (Brief interruption in proceedings.)                9   to the documents that we previously reviewed as
10         THE VIDEOGRAPHER: Back on the record,              10   exhibits, the order numbers would match up; is that
11   beginning media unit two at 11:01 a.m.                   11   right?
12         MS. REINCKENS: Mark this as Exhibit                12       A I didn't put order numbers on this sheet.
13   No. 33.                                                  13   I didn't keep track of the order numbers themselves.
14         (Plaintiff's Exhibit 33 was marked for             14          There should be a high degree of overlap on
15   identification by the Certified Shorthand Reporter       15   this. If I recall -- because this was the batch of
16   and is attached hereto.)                                 16   shoes that I had set aside to have looked at, so I
17         MS. REINCKENS: Okay.                               17   think there's a high degree of overlap.
18   BY MS. REINCKENS:                                        18          But I didn't reconcile my notations of fake
19      Q Mr. KIM, you've been handed a document              19   with what ultimately was returned to StockX or
20   marked as Exhibit No. 33. It bears the Bates numbers     20   verified as a fake by Nike.
21   RK 13 through RK 14.                                     21       Q And you received all of the orders that are
22         Do you see that?                                   22   shown here on this spreadsheet; is that right?
23      A Yes.                                                23          MR. POTTER: Objection to form.
24      Q And the document that had the Bates numbers         24          THE WITNESS: I believe so, yes.
25   RK, those are documents that were produced by your       25   //

                                                                                                 17 (Pages 62 - 65)
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                                                Page 74                                                         Page 76
 1         MS. REINCKENS: You may answer.                 1   account "sneakerstrut"?
 2         THE WITNESS: I am.                             2       A About four or five years, I believe.
 3         MS. REINCKENS: Okay.                           3       Q Okay.
 4   BY MS. REINCKENS:                                    4          And what kind of content do you post on the
 5       Q And who is -- if you can tell me, as far as    5   "sneakerstrut" account?
 6   you know, received similar advice?                   6       A So, it's mostly just like a personal
 7       A It's one of the people that I -- another       7   sneaker diary. I just like to take a picture of
 8   one of the power resellers that messaged on          8   whatever shoe I'm wearing that day and just post it
 9   Instagram.                                           9   there.
10       Q Okay.                                         10          I also would use -- because a lot of my
11       A He's also the one that was referenced on      11   following are Instagram resellers or other sneaker
12   Exhibit No. 35, in that screenshot chat. He's the   12   influencers, sometimes I'll use stories to just talk
13   same person.                                        13   about the market of the re-sell or -- you know, just
14       Q Okay.                                         14   stories that have to do with sneaker reselling.
15         And do you happen to recall his screen        15       Q Okay. And do you have any idea of what
16   name?                                               16   type of users follow your account?
17       A I don't recall it right now, but I could      17          MR. POTTER: Objection to form.
18   probably look it up on my Instagram if I needed to. 18          THE WITNESS: I have a lot of friends that
19       Q All right.                                    19   follow, mostly sneaker enthusiasts. Some sneaker
20         Now, speaking of Instagram, if you could      20   resellers and a lot of bots unfortunately.
21   please mark this as Exhibit No. 36.                 21          MS. REINCKENS: Okay. I'll mark this,
22         MR. POTTER: I think we're at Exhibit No. 22        please, as Exhibit No. 38.
23   37.                                                 23          (Plaintiff's Exhibit 38 was marked for
24         THE COURT REPORTER: For clarity, it's 24           identification by the Certified Shorthand Reporter
25   Exhibit No. 37.                                     25   and is attached hereto.)
                                                Page 75                                                         Page 77
 1         MS. REINCKENS: Oh, it is. Did I mess it       1          THE WITNESS: Thank you.
 2   up already? Oh, yes. Thank you.                     2    BY MS. REINCKENS:
 3         It's exhibit No. 37. Thank you.               3       Q Mr. Kim, the court reporter has handed you
 4         (Plaintiff's Exhibit 37 was marked for        4    a document marked as Exhibit No. 38. And I'll
 5   identification by the Certified Shorthand Reporter 5     represent to you that this is a printout of -- taken
 6   and is attached hereto.)                            6    on February seventh, 2023, at 1:55 p.m. of your
 7         THE WITNESS: Thank you.                       7    Instagram account and, in particular, a post that was
 8         MS. REINCKENS: Okay.                          8    made on July fifth, 2022.
 9   BY MS. REINCKENS:                                   9          Do you recognize this post, sir?
10      Q Mr. Kim, the court reporter has handed you 10          A I do.
11   a document marked as Exhibit No. 37 and I will     11       Q Okay.
12   represent to you that this a printout of your      12          And what is it?
13   Instagram page --                                  13       A It was the post that I made saying that I
14      A It is?                                        14    had received a bunch of shoes that had failed Legit
15      Q -- that was taken yesterday on February       15    Check and CheckCheck Application.
16   seventh, 2023.                                     16          And so just documenting what I believe were
17         Do you recognize this document to be a       17    fake shoes sold by StockX.
18   printout of your Instagram page?                   18       Q Okay.
19      A I do.                                         19          And you posted this then on July fifth,
20      Q Okay.                                         20    2022; correct?
21         And your Instagram username is               21       A That is correct, yes.
22   "sneakerstrut"; is that right?                     22       Q Okay.
23      A It is.                                        23          All right. You can put that to the side.
24      Q Okay.                                         24          MS. REINCKENS: Mark this as Exhibit
25         How long have you been using the Instagram 25      No. 39, please.

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                                                  Page 78                                                       Page 80
 1         (Plaintiff's Exhibit 39 was marked for            1       Q Okay.
 2   identification by the Certified Shorthand Reporter      2         And if you could, please, just read that
 3   and is attached hereto.)                                3   caption into the record?
 4         THE WITNESS: Thank you.                           4       A "This is what $10,000 plus of fake sneakers
 5   BY MS. REINCKENS:                                       5   that passed through StockX looks like. I bought
 6       Q Now, Mr. Kim, you've been handed a document       6   about 62 pairs of Uni Mocha Hyper Royals through
 7   marked as Exhibit No. 39. It bears the Bates numbers    7   StockX over the last month. Of those 36 have failed
 8   NIKE 36330 through NIKE 36338. And I will represent     8   authentication at CheckCheck and Legit Check App. I
 9   to you that this is a printout from Page Vault and      9   haven't tried to sell them through Ebay or GOAT, but
10   Page Vault is a service that is used to capture web    10   somebody else who's been buying their pairs from
11   content and it was produced in this case by Nike.      11   StockX told me these pairs have been failing through
12         I will represent to you that is -- it            12   GOAT authentication at a very high rate. This means
13   captures the same Instagram post that we just looked   13   that StockX's authentication on these pairs is only
14   at in Exhibit No. 38.                                  14   42 percent accurate, 58 percent of the pairs they are
15         Just looking at this document, sir, does         15   selling will be marked as 'not legit' consistently by
16   this appear to be an accurate capture of that post?    16   other sources. There's a huge problem here. Of
17       A Yes.                                             17   course, StockX support is silent when brought up
18       Q And this document is a little bit difficult      18   through support channels. Any human authentication
19   to follow, but if you look at the cover page it has    19   system is going to have errors, but whatever StockX
20   the capture time stamp.                                20   is doing right now is not working and the ability to
21         Do you see that?                                 21   fix these errors is nearly non-existent. Hashtag
22       A Yes. I see the capture timestamp yes.            22   StockX."
23       Q What is the date of that capture?                23       Q Now, when you referenced in the first
24       A It says Tuesday, the 12th of July 2022 --        24   sentence, "sneakers that passed through at StockX
25       Q Okay.                                            25   looks like," did you tag StockX there?
                                                  Page 79                                                       Page 81
 1      A -- at 8:32 GMT.                                 1         A Did I tag StockX there, yes.
 2      Q All right.                                      2         Q Okay.
 3         And is -- can you please confirm that this     3             So that would be a tag back to StockX's
 4   post is still visible on your Instagram account --   4      Instagram account then; correct?
 5      A It is still --                                  5         A Yes.
 6      Q -- today?                                       6         Q All right.
 7      A It is still visible today, yes.                 7             And as far as you're aware would StockX
 8      Q Okay.                                           8      receive notice of being tagged in your post?
 9         Now, if you look at page four, it's the        9             MR. POTTER: Objection to form.
10   document that ends in -- or that's Bates numbered 10               THE WITNESS: I don't know how those big
11   36333. There's a large block of text underneath the 11      business accounts work, but I would imagine they do.
12   images.                                             12             MS. REINCKENS: Okay. Thank you.
13         Do you see that?                              13      BY MS. REINCKENS:
14      A On page three?                                 14         Q Now, underneath your caption is says,
15      Q It's -- yes, page three of eight or            15      "Edited."
16   otherwise NIKE 36333.                               16              Do you see that?
17      A Oh, yeah, I see it.                            17         A Yes.
18      Q Okay.                                          18         Q Okay.
19         And what is the large text that appears       19             What does that mean?
20   under the images?                                   20         A It means I modified the description from
21      A That is the description of the Instagram       21      the first time I posted to what the final version
22   post that I make.                                   22      was.
23      Q Okay.                                          23         Q Do you recall how you edited it?
24         And so did you write this, sir?               24         A I do not recall.
25      A I did.                                         25             It was probably punctuation error or

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                                                     Page 82                                                         Page 84
 1   something with the spelling.                          1        for Nike to look at them.
 2      Q Now, on the same page you say "StockX            2            Q And were those the same pairs that were
 3   support is silent when brought up through support 3            depicted in your Instagram post?
 4   channels."                                            4            A Yes, and a few more.
 5         What did you mean by that?                      5            Q Okay.
 6      A I meant that I had reached out through           6               And were those the same pairs as the order
 7   their help channels on their website. I received no 7          confirmations that we reviewed earlier, sir?
 8   notification at this time. Although Discord isn't an 8             A Yes.
 9   official support channel, I kind of included that in  9               MR. POTTER: Objection.
10   my mind where I tried to reach out through their     10               THE WITNESS: I'm sorry.
11   Discord as well and have not received any response 11                 MR. POTTER: Objection to form.
12   except from this at DarkJ reported to be a StockX 12           BY MS. REINCKENS:
13   employee.                                            13            Q Did each pair come from StockX?
14      Q Thank you.                                      14            A Yes.
15         MS. REINCKENS: Mark this as Exhibit            15            Q And how can you be sure of that?
16   No. 40, please.                                      16            A The ones that I had set aside still had --
17         (Plaintiff's Exhibit 40 was marked for         17        well, most of them had still the StockX tags attached
18   identification by the Certified Shorthand Reporter 18          to them.
19   and is attached hereto.)                             19               So StockX, when they authenticate their
20         MS. REINCKENS: Okay.                           20        shoes, attaches a tag that you cannot be removed --
21   BY MS. REINCKENS:                                    21        well, you can remove it, but you cannot reattach it,
22      Q Mr. Kim, the court reporter has handed you 22             so these were still -- and that's how they embed,
23   a document that's been mark as Exhibit No. 40. It 23           like, the order number on the RFI to you.
24   bears the Bates No. NIKE 29207, excuse me.           24               So most of the ones I had set aside still
25         And do you recognize this document, sir?       25        had the StockX tag on them. I had a few that I
                                                     Page 83                                                         Page 85
 1      A I do.                                                 1   prematurely removed the tags, that I just wanted, you
 2      Q Okay.                                                 2   know, to know if they were fake or not so I knew
 3        And what is it?                                       3   what to do with them.
 4      A It is an email from Tamar -- I'm going to             4         So, yeah.
 5   butcher the last name -- Tamar Duvdevani, a lawyer at      5      Q And did any of those shoes come without
 6   DLA Piper who represents Nike, asking me to -- if I        6   tags?
 7   would speak with her about my Instagram post.              7         MR. POTTER: Objection to form.
 8      Q And when did you receive this email?                  8         THE WITNESS: From StockX, no. All the
 9      A July 11th, 2022.                                      9   StockX shoes came with tags.
10      Q And is this the first time you were                  10   BY MS. REINCKENS:
11   contacted by anyone from the Nike team?                   11      Q After receiving the shoes initially from
12      A Yes.                                                 12   StockX, how did you store them?
13      Q Is it correct also that on July -- July              13      A They were stored in my garage.
14   22nd, 2022, representatives from Nike inspected the       14      Q And after Nike left, what did you do with
15   shoes?                                                    15   the shoes?
16      A Yes.                                                 16         MR. POTTER: Objection to form.
17      Q Do you recall where the inspection took              17         THE WITNESS: I packaged them up and sent
18   place?                                                    18   them back with the labels that my StockX
19      A At my home.                                          19   representative had sent me to send back to StockX.
20      Q Do you recall who was present?                       20   BY MS. REINCKENS:
21      A Yes, you were, Melissa and then a product            21      Q About how soon after the inspection on July
22   authenticator from Nike. I do not remember his name.      22   22nd, did you return the shoes to StockX?
23      Q And how did you set aside the pairs that             23      A Within days.
24   were inspected by Nike?                                   24      Q Did you give the shoes to any other parties
25      A I set them on my rooftop table to -- yeah,           25   before returning them to StockX?

                                                                                                     22 (Pages 82 - 85)
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                                                    Page 174                                                       Page 176
 1         I think as far as reselling is concerned, I          1 JESSE HINDMAN, ESQ.
 2   am more sophisticated in my use of that platform, but      2 jeese@erhlawfirm.com
 3   I actually think StockX is used by a lot of, like,         3                  February 13, 2023
 4   non-sneaker heads, too, to purchase shoes.                 4 RE: Nike, Inc. v. Stockx, LLC
 5   BY MR. POTTER:                                             5     2/8/2023, Roy Ikhyun Kim (#5689465)
 6       Q Do you believe that other sneaker resellers          6     The above-referenced transcript is available for
 7   are more sophisticated than average sneaker                7 review.
 8   purchasers?                                                8     Within the applicable timeframe, the witness should
 9       A Yes.                                                 9 read the testimony to verify its accuracy. If there are
10         MR. POTTER: No further questions.                   10 any changes, the witness should note those with the
11         MS. REINCKENS: Thank you.                           11 reason, on the attached Errata Sheet.
12         THE VIDEOGRAPHER: Off the record at                 12     The witness should sign the Acknowledgment of
13   p.m. concluding today's deposition.                       13 Deponent and Errata and return to the deposing attorney.
14         (Deposition ended at 1:40 p.m.)                     14 Copies should be sent to all counsel, and to Veritext at
15   ///                                                       15 cs-ny@veritext.com
16   ///                                                       16
17   ///                                                       17 Return completed errata within 30 days from
18                                                             18 receipt of testimony.
19                                                             19 If the witness fails to do so within the time
20                                                             20 allotted, the transcript may be used as if signed.
21                                                             21
22                                                             22            Yours,
23                                                             23            Veritext Legal Solutions
24                                                             24
25                                                             25
                                                    Page 175                                                       Page 177
 1   STATE OF CALIFORNIA )                                      1 Nike, Inc. v. Stockx, LLC
 2                    ) ss.                                     2 Roy Ikhyun Kim (#5689465)
 3   COUNTY OF LOS ANGELES )                                    3           ERRATA SHEET
 4       I, Lynda L. Fenn, Certified Shorthand                  4 PAGE_____ LINE_____ CHANGE________________________
 5   Reporter No. 12566 for the State of California, do         5 __________________________________________________
 6   hereby certify:                                            6 REASON____________________________________________
 7       That prior to being examined, the witness named        7 PAGE_____ LINE_____ CHANGE________________________
 8   in the foregoing deposition was duly sworn to testify      8 __________________________________________________
 9   the truth, the whole truth, and nothing but the
                                                                9 REASON____________________________________________
10   truth;
                                                               10 PAGE_____ LINE_____ CHANGE________________________
11       That said deposition was taken down by me in
                                                               11 __________________________________________________
12   shorthand at the time and place therein named and
                                                               12 REASON____________________________________________
13   thereafter reduced by me to typewritten form and that
                                                               13 PAGE_____ LINE_____ CHANGE________________________
14   the same is a true, correct, and complete transcript
                                                               14 __________________________________________________
15   of said proceedings.
                                                               15 REASON____________________________________________
16       Before completion of the deposition, review of
                                                               16 PAGE_____ LINE_____ CHANGE________________________
17   the transcript [ X ] was [ ] was not requested. If
18   requested, any changes made by the deponent (and          17 __________________________________________________
19   provided to the reporter) during the period allowed       18 REASON____________________________________________
20   are appended hereto.                                      19 PAGE_____ LINE_____ CHANGE________________________
21       I further certify that I am not interested in         20 __________________________________________________
22   the outcome of the action.                                21 REASON____________________________________________
23       Witness my hand this 13th day of February, 2023.      22
24                                                             23 ________________________________ _______________
              <%20287,Signature%>                              24 Roy Ikhyun Kim                Date
25            Lynda L. Fenn, CSR, RPR                          25

                                                                                                 45 (Pages 174 - 177)
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